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                        UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION
____________________________________
                                     )
PETER PEDERSEN                       )    Civil Action No. 1:23-cv-00071-ADA
                  Plaintiff,         )
v.                                   )
                                     )           JURY TRIAL
ZOHO CORPORATION                     )
                  Defendant          )
____________________________________)


                             PARTIES JOINT STATUS REPORT


       The Parties submit the following Joint Status Report regarding the stay of this matter

pending the IPR proceedings at the USPTO.

       The final decision in the IPR was issued on May 10, 2024 and the USPTO found all

challenged claims (claims 1 and 14-17) invalid. This Court previously found claims 12 and 13 of

the patent at issue (U.S. Patent No. 6,965,920 B2) indefinite. The remaining 10 claims of the

patent at issue currently remain valid.

       Plaintiff is currently deciding whether to appeal the IPR decision and keep the stay of the

District Court litigation in place, or not appeal the IPR decision and resume the district court

litigation with the 10 remaining claims.

       The parties propose submitting a status report in 30 days to provide time for Plaintiff to

determine a course of proceeding and for the parties to discuss resolution.




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Executed on May 29, 2024                            Respectfully submitted,


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                                           Attorneys for Defendant Zoho Corporation


                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on May 29, 2024 the foregoing Joint Status Report
was filed with the Clerk of Court using the CM/ECF system, which sends a notification of such
filing to counsel of record.

                                                           /s/ Joseph J. Zito
                                                           Joseph J. Zito

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